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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


  JOSE ANTONIO HAUA and
  BIBIANA KURI OTERO
                                                  Case No. 1:20-cv-02318-PGG
                 Plaintiffs,

  vs.
                                                     xxxxxxxxxxxx ORDER
                                                    [PROPOSED]
  PRODIGY NETWORK, LLC a Delaware
  limited liability company, PRODIGY
  SHOREWOOD INVESTMENT
  MANAGEMENT, LLC, and 17 JOHN
  PREFERRED, INC., a Delaware corporation,

                  Defendants.


        This action was commenced on March 16, 2020 by the filing of the complaint and the

issuance of summonses by plaintiffs Jose Antonio Haua and Bibiana Kuri Otero (together,

“Plaintiffs”). Judgment was entered by the Court on August 13, 2020 in favor of Plaintiffs and

against defendants Prodigy Network, LLC (“Prodigy Network”) and 17 John Preferred, Inc. (“17

John”) in the amount of $808,596.96.

        NOW, pursuant to Rule 37 of the Federal Rules of Civil Procedure,

        IT IS HEREBY ORDERED, that Prodigy Network and 17 John provide answers

responsive to Plaintiffs’ information subpoena served on Prodigy Network and 17 John dated

August 25, 2020 within ten days of this date.

        Failure to respond to the Restraining Notice and Information Subpoena will serve as

grounds for finding that Prodigy Network and 17 John are in contempt of this Court and will be

subject to civil and criminal penalties.
        Case
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       Plaintiffs shall arrange for service of this Order by overnight delivery to Prodigy Network

and 17 John. Proof of such service shall be filed with the Court.



Dated: October 15                    , 2020



                                     PAUL G. GARDEPHE, U.S.D.J.




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